
Opinion by Judge COWEN; Dissent by Judge TASHIMA.
OPINION
COWEN, Circuit Judge.
Isaías Gonzalez-Aparicio appeals from the sentence imposed by the District Court following his guilty plea to one count of attempted reentry after deportation. Reviewing for plain error, we will affirm.
I.
Gonzalez-Aparicio was born in Mexico on January 24, 1973. According to the presentence investigation report (“PSR”) dated September 23, 2009, he moved to the United States with his family when he was still a teenager.
In “Part B — Defendants’ Criminal History,” the PSR stated that Gonzalez-Aparicio was arrested on August 18, 1999, at age 26, and then convicted on the following charge: “Count 1 — Sexual Conduct with a Minor (felony) Arizona Revised Statutes § 13-1405, Maricopa County Superior Court, Phoenix, CR19992981.” (PSR ¶ 21.) He originally received the following sentence: “02/02/2000 — 10 years probation, 1 year jail as condition of probation (credit for 167 days time served).” (Id.) The sentence was then amended: “02/24/2000— Sentence amended; condition imposing 1 year in jail vacated and replaced by condition imposing 167 days in jail.” (Id.) Gonzalez-Aparicio was deported to Mexico on February 23, 2000.
The PSR went on to state that:
The defendant was represented by counsel. Court records show he pleaded guilty to Count 1 of an indictment charging that in November 1998 he “engaged in sexual intercourse or oral sexual contact with [victim] a minor under the age of fifteen years, this refers to the first intercourse^]” Three additional counts charging the defendant with sexual conduct with the same victim were dismissed.
Arrest reports were not received, and court documents indicate only that from November 1998 through August 1999 the defendant engaged in intercourse with the victim on at least four occasions. The defendant was released to immigration authorities and deported on February 23, 2000. As noted above, the defendant’s sentence was amended the day following his deportation. A Maricopa County Adult Probation official indicated revocation proceedings will be initiated based on the defendant’s commission of the instant offense.

(Id.)

Following this first deportation, GonzaleznAparieio reentered the United States. He was removed again in March 2009. On April 1, 2009, Border Patrol agents in Nogales, Arizona, observed GonzalezAparicio crawling through a hole in the international border fence. Although he attempted to run away, he was apprehended and admitted to the agents that he was a Mexican citizen without legal authorization *752to be in this country. A federal grand jury indicted him for attempted illegal reentry after deportation under 8 U.S.C. § 1326 as enhanced by 8 U.S.C. § 1326(b)(2). On August 20, 2009, Gonzalez-Aparicio pled guilty.
Calculating the offense level under the Sentencing Guidelines, the PSR began with a base offense level of 8 and ultimately ended up with a total offense level of 22. Among other things, it added 16 levels “because the defendant was previously deported subsequent to a conviction for sexual conduct with a minor, the elements of which are equivalent to sexual abuse of a minor and/or statutory rape, either of which is an enumerated crime of violence under U.S.S.G. § 2L1.2(b)(l)(A)(ii).” (Id. ¶ 10.) The PSR also found that GonzalezAparicio fell under criminal history category III. In the end, the sentencing range was 51 to 63 months, and the Probation Office recommended a sentence of 56 months.
The addendum dated September 29, 2009 indicated that the defense (unlike the government) made no objections to the PSR. However, the defense counsel did submit documentation in anticipation of the sentencing hearing, including an untranslated letter in Spanish allegedly from the victim of Gonzalez-Aparicio’s prior criminal conduct.
At the sentencing hearing conducted on November 3, 2009 (with the assistance of an interpreter), the District Court initially asked Gonzalez-Aparicio’s attorney whether there was any legal reason why they could not go forward with sentencing. The attorney indicated that there were none. He further noted that he had reviewed with his client “the presentence report including the recommendation section and the addendum to the report” and believed that his client adequately understood the documents. (ER24.) GonzalezAparicio then indicated on the record that he was satisfied with his counsel’s services, the attorney was able to answer any questions he might have had, and the attorney discussed the PSR and its recommendation with him. The District Court accordingly ordered that the “presentence report is made a part of the record” and expressly adopted its factual assertions because “the report accurately describes the offense conduct.” (ER25.) It then reviewed the PSR’s Guideline calculation, stating, inter alia, that it accurately calculated a 16-level enhancement because Gonzalez-Aparicio was previously deported following “a conviction for sexual conduct with a minor as outlined in paragraph 21.” (ER26.)
The defense counsel asked for “a more realistic sentence in the neighborhood of 18 to 24 months.” (ER30.) Among other things, he stated that “the most significant felony prior we are here for involved a case of him being charged for basically statutory rape.” (ER27.) In short, he explained that Gonzalez-Aparicio had a consensual 6-month-long relationship when he was 26 with a distant cousin of his common-law wife (at a time when he was separated) who was approaching the age of 15. While the defense attorney acknowledged that the crime “sounds” horrible and dangerous, his client was convinced that his sentence was changed to time served in part because the family did not want the State of Arizona to pursue charges. (Id.) The defense counsel added that the State often will prosecute such cases in spite of the victim’s own wishes and went on to emphasize the fact that “the so-called victim” actually wrote “a touching letter asking you to consider leniency and mercy.” (ER28.)
After Gonzalez-Aparicio made a brief statement of his own, the prosecutor concurred in the Probation Office’s sentencing recommendation. Among other things, *753the prosecutor noted that she was unable to obtain “the police reports on the statutory rape case.” (ER31.) However, she challenged her adversary’s characterization of the matter, stating, inter alia, that it “wasn’t a Romeo/Juliet case,” that “[h]e’s 26” and “[s]he’s at oldest 14,” and that it is “very difficult” for victims who are also family members and who may then be pressured by others into not pursuing charges or even writing a letter asking for leniency. (ER32)
In its final sentencing determination, the District Court took into consideration the Guideline calculations, the statutory sentencing factors, and the mitigating factors offered in support of a lesser sentence (especially with respect to Gonzalez-Aparicio’s family circumstances). The District Court specifically noted that the section 13-1405 conviction described in Paragraph 21 of the PSR does not constitute an aggravated felony conviction “because the sentence was not at least one year.” (Id.) It observed, inter alia, that “[t]here’s been no objection to the guideline calculations” and that it “basically adopted what the probation department has proposed.” (ER33.) Declining “to grant a departure based on the fact that paragraph 21 is not an aggravated felony,” the District Court expressly found “that it is appropriately treated as a crime of violence, sexual conduct with a minor under 15.” (Id.) The District Court then observed that: “We have the summary of the incident in paragraph 21. The court finds it is appropriate to continue to treat that as a crime of violence and that it is an appropriate adjudication for purposes of sentencing today of that prior conviction.” (ER33-ER34.) Ultimately, the District Court imposed a Guideline sentence (although one at the low end of the range due to the mitigating factors) of 51 months of imprisonment to be followed by 3 years of supervised release.
II.
Gonzalez-Aparicio contends that the District Court committed reversible procedural error by applying a 16-level increase to the offense level pursuant to U.S.S.G. § 2L1.2(b)(l)(A)(ii).1 This Guideline specifically provides for such an increase if the defendant was previously deported following a conviction for a “crime of violence.” The Sentencing Commission’s commentary states that:
“Crime of violence” means any of the following offenses under federal, state, or local law: Murder, manslaughter, kidnapping, aggravated assault, forcible sex offenses (including where consent to the conduct is not given or is not legally valid, such as where consent to the conduct is involuntary, incompetent, or coerced), statutory rape, sexual abuse of a minor, robbery, arson, extortion, extortionate extension of credit, burglary of a dwelling, or any other offense under federal, state, or local law that has as an element the use, attempted use, or threatened use of physical force against the person of another.
U.S.S.G. § 2L1.2 cmt. n. l(B)(iii). In turn, Ariz.Rev.Stat. § 13-1405 currently states:
§ 13-1405. Sexual conduct with a minor; classification; definition.
A. A person commits sexual conduct with a minor by intentionally or knowingly engaging in sexual intercourse or oral sexual contact with any person who is under eighteen years of age.
*754B. Sexual conduct with a minor who is under fifteen years of age is a class 2 felony and is punishable pursuant to § 13-705. Sexual conduct with a minor who is at least fifteen years of age is a class 6 felony. Sexual conduct with a minor who is at least fifteen years of age is a class 2 felony if the person is the minor’s parent, stepparent, adoptive parent, legal guardian, foster parent or the minor’s teacher or clergyman or priest and the convicted person is not eligible for suspension of sentence, probation, pardon or release from confinement on any basis except as specifically authorized by § 31-233, subsection A or B until the sentence imposed has been served or commuted.
C. For the purposes of this section, “teacher” means a certificated teacher as defined in § 15-501 or any other person who directly provides academic instruction to pupils in any school district, charter school, accommodation school, the Arizona state schools for the deaf and the blind or a private school in this state.2
The PSR found that Gonzalez-Aparicio was convicted of a “crime of violence” because the elements of the Arizona offense “are equivalent to sexual abuse of a minor and/or statutory rape.” (PSR ¶ 10.) Without any objection on the part of the defense, whether in writing or at the sentencing hearing itself, the District Court accepted this characterization of the prior conviction as a “crime of violence” for sentencing purposes.
The overarching principles of law that must be followed here appear to be well established, although the parties vigorously contest whether they have been satisfied. “When an offense is specifically enumerated by the Application Notes as a ‘crime of violence,’ we have consistently drawn the conclusion that the offense is a per se crime of violence under the Guidelines.” United States v. Rodriguez-Guzman, 506 F.3d 738, 741 (9th Cir.2007) (citations omitted). In other words, we must determine “whether the statutory definition used by [Arizona] comports with the generic and contemporary meaning of the offense of statutory rape.” Id. at 743.
This inquiry requires the courts to apply the categorical approach or test set forth in Taylor v. United States, 495 U.S. 575, 110 S.Ct. 2143, 109 L.Ed.2d 607 (1990). “ ‘Under the categorical approach, we “compare the elements of the statutory definition of the crime of conviction with a federal definition of the crime to determine whether conduct proscribed by the statute is broader than the generic federal definition.” ’ ” United States v. Valencia-Barragan, 608 F.3d 1103, 1107 (9th Cir.2010) (quoting Cerezo v. Mukasey, 512 F.3d 1163, 1166 (9th Cir.2008)), cert. denied, — U.S. -, 131 S.Ct. 539, 178 L.Ed.2d 396 (2010). “[E]ven the least egregious conduct the statute [of conviction] covers must qualify.” United States v. Lopez-Solis, 447 F.3d 1201, 1206 (9th Cir.2006) (citing Valencia v. Gonzales, 439 F.3d 1046, 1052 &amp; n. 3 (9th Cir.2006)). Furthermore, the court may look only to the fact of conviction and the statutory definition of the prior offense. See, e.g., Valencia-Barragan, 608 F.3d at 1107.
Even if the pure categorical test is not satisfied, the government may ask the court to turn to the modified eategori*755cal approach. Where the statute of conviction is overly inclusive, the Supreme Court allows “ ‘the sentencing court to go beyond the mere fact of conviction.’ ” Rodriguez-Guzman, 506 F.3d at 746 (quoting Taylor, 495 U.S. at 602, 110 S.Ct. 2143). In short, the court may consider whether otherwise proper documentation and “ ‘judicially noticeable facts’ ” unequivocally demonstrate that the prior offense does fall under the generic federal definition. Id. (quoting United States v. Shumate, 329 F.3d 1026, 1029 (9th Cir.2003), as amended by 341 F.3d 852 (9th Cir.2003)). “[T]he modified categorical approach is appropriate when the statute of conviction is divisible into several crimes, some of which fall under the relevant category, and some of which do not.” Estrada-Espinoza, 546 F.3d at 1159-60 (citing Carty v. Ashcroft, 395 F.3d 1081, 1084 (9th Cir.2005)). The approach does not apply at all when the statute of conviction lacks an element of the generic crime. See, e.g., id. at 1159. In the end, a court “can conclude that a conviction qualifies ... ‘only if the record of conviction shows the jury “necessarily” found all of the generic elements, or the defendant “necessarily” admitted all of the generic elements in a plea.’ ” United States v. Espinoza-Morales, 621 F.3d 1141, 1149 (9th Cir.2010) (quoting Sandoval-Lua v. Gonzales, 499 F.3d 1121, 1131 (9th Cir. 2007)) (footnote omitted).
Gonzalez-Aparicio contends that the generic federal definition of “statutory rape” has, as one of its elements, proof that there is at least a 4-year age difference between the perpetrator and the victim. It is undisputed that section 13-1405 lacks any such age difference requirement. The government argues that, at the very least, the District Court committed no plain error with respect to whether the generic federal definition includes such an element. The government further acknowledges that, in any case, it is necessary to turn to the modified categorical analysis because section 13-1405(A) generally refers to sexual conduct with “any person who is under eighteen years of age” and this Court has held that the generic age of consent for “statutory rape” purposes is 16. However, it emphasizes that the provision goes on to state in section 13-1405(B) that “[s]exual conduct with a minor who is under fifteen years of age is a class 2 felony” and that the PSR, in turn, asserted that “[cjourt records show he pleaded guilty to Count I of an indictment charging that in November 1998 he ‘engaged in sexual intercourse or oral sexual contact with [victim] a minor under the age of fifteen years, this refers to the first intercourse[.]’ ” (PSR ¶ 21). Gonzalez-Aparicio, for his part, takes issue with the government’s application of the modified approach.
A. The Standard Of Review
Under the circumstances of this appeal, the identification of the applicable standard of review is especially important. We generally review criminal sentences for abuse of discretion, and we will not overturn a district court’s sentencing determination in the absence of procedural error or substantive unreasonableness. See, e.g., United States v. Carty, 520 F.3d 984, 993 (9th Cir.2008) (en banc). A district court’s interpretation of the Guidelines is usually reviewed de novo. See, e.g., United States v. Cantrell, 433 F.3d 1269, 1279 (9th Cir. 2006) (en banc). However, it is uncontested that Gonzalez-Aparicio (who was represented by counsel) never objected to or otherwise called into question the characterization of his prior Arizona conviction as a “crime of violence.” He failed to do so either in writing or even at the sentencing hearing itself. Understandably, the government argues that this Court must apply the well-established plain error standard of review with respect to alleged sentenc*756ing errors not raised below. See, e.g., United States v. Charles, 581 F.3d 927, 932-33 (9th Cir.2009). Gonzalezr-Aparicio asserts that the Court should not do so because we are purportedly confronted with a pure question of law and the opposing party would suffer no prejudice as a result of the failure to raise the issue below (although he further contends that he satisfies the plain error standard in any case).
We have indicated in prior sentencing cases that we are not limited to this standard of review where the appeal presents a pure question of law and there is no prejudice to the opposing party. See United States v. Evans-Martinez, 611 F.3d 635, 642 (9th Cir.2010), cert. denied, — U.S. -, 131 S.Ct. 956, 178 L.Ed.2d 788 (2011); United States v. Saavedra-Velazquez, 578 F.3d 1103, 1106 (9th Cir.2009), cert. denied, — U.S. -, 130 S.Ct. 1547, 176 L.Ed.2d 139 (2010); United States v. Echavarria-Escobar, 270 F.3d 1265, 1267-68 (9th Cir.2001). In other words, we possess the .discretion to refrain from applying the default plain error standard of review in certain circumstances. United States v. Burgum, 633 F.3d 810, 812 n. 2 (9th Cir.2011) (“To the extent we have discretion not to apply plain error review, we decline to exercise that discretion in this instance.” (citing Evans-Martinez, 611 F.3d at 642; Echavarria-Escobar, 270 F.3d at 1267-68).) We find that it is not appropriate to exercise this discretion in light of the specific circumstances of the current appeal.
As we explain in further detail in the next section, there was at the time of sentencing and still exists today confusion, tension, and possibly even conflict in our own case law as to whether the generic federal definition of “statutory rape” includes a 4-year age difference element. The panels in the decisions cited above were not confronted with such a situation (and two of the panels ultimately held that there were no errors of law in light of prior precedent). See Evans-Martinez, 611 F.3d at 638-42 (determining sua sponte that the district court committed procedural error by using mandatory minimum sentence for one count as Guideline sentence for all counts); Saavedra-Velazquez, 578 F.3d at 1106-10 (following Ninth Circuit precedent to conclude that California’s definition of attempt is not broader than definition of attempt at common law and that accordingly attempted robbery is “crime of violence”); Echavarria-Escobar, 270 F.3d at 1267-71 (following every other circuit court to have considered issue to conclude that suspended sentence may constitute aggravated felony for sentencing enhancement purposes). In contrast, a reasoned decision from the District Court, made after the parties have presented their respective positions, would assist us in deciding the difficult legal question of whether there is an age difference element. The failure to object, however, means that we have been denied such valuable assistance. We further note that this Court relatively recently applied the plain error standard to the defendant’s claim, asserted for the first time on appeal, that he was not a career offender because his prior conviction did not categorically constitute a controlled substance offense. Charles, 581 F.3d at 932-36.
Pursuant to the modified categorical approach, this Court must also consider, among other things, acceptable documentation regarding Gonzalez-Aparicio’s prior Arizona conviction. We must go beyond an abstract legal discussion of statutory terms and criminal elements. Accordingly, this appeal implicates more than merely a pure question of law.
As a practical matter, the defense’s own conduct before the District Court provides even further support for applying the well-*757established plain error standard of review. In addition to making no objection whatsoever with respect to the PSR’s characterization of the prior conviction as a “crime of violence,” the defense essentially took this characterization as a “given” at the sentencing hearing and even went so far as to admit on the record that his client was 26 years old at the time of the offense, that his “girlfriend” was under the age of 15, and that the prior felony “involved a case of him being charged for basically statutory rape.” (ER27.) The defense counsel specifically asked for a sentence, based, inter alia, on the purported facts and circumstances of the prior conviction, that was still significantly higher than the sentencing range that would have applied in the absence of any “crime of violence” enhancement (i.e., he asked for a sentence in the “neighborhood” of 18 to 24 months (ER32), even though the applicable range without the 16-level increase would have been apparently only 2 to 8 months).
While such admissions and conduct may be insufficient to satisfy the categorical or modified categorical tests themselves, they nevertheless indicate that we should decline to exercise our discretion to apply a de novo standard of review. We further note that, in contrast to Gonzalez-Aparicio, the defendant in Saavedra-Velazquez did unsuccessfully argue before the district court, admittedly on different grounds than he raised on appeal, that the prior conviction “was not, categorically, a ‘crime of violence’ for the purposes of U.S.S.G. § 2L1.2 and that the 16-level upward adjustment should not be applied.” 578 F.3d at 1105. We further add that, if the defense had properly raised this objection, the government may have then obtained and submitted further documentation from the state court proceeding that could clearly be considered in any modified categorical analysis. Accordingly, the government has suffered prejudice here.
Under the plain error standard of review, the appellant must show that: (1) there was error; (2) the error committed was plain; (3) the error affected substantial rights; and (4) the error seriously affected the fairness, integrity, or public reputation of judicial proceedings. See, e.g., United States v. Olano, 507 U.S. 725, 732, 113 S.Ct. 1770, 123 L.Ed.2d 508 (1993); Charles, 581 F.3d at 933. To be plain, the error must be clear or obvious, and an error “ ‘cannot be plain where there is no controlling authority on point and where the most closely analogous precedent leads to conflicting results.’ ” Charles, 581 F.3d at 933-34(quoting United States v. De La Fuente, 353 F.3d 766, 769 (9th Cir.2003)). “Plain error, as we understand that term, is error that is so clear-cut, so obvious, a competent district judge should be able to avoid it without benefit of objection.” United States v. Turman, 122 F.3d 1167, 1170 (9th Cir. 1997) (citing United States v. Frady, 456 U.S. 152, 163, 102 S.Ct. 1584, 71 L.Ed.2d 816 (1982)). When the state of the law is unclear at the time of trial and is then clarified by subsequent authority, the district court’s error is still not considered plain. See, e.g., id. Therefore, plain error “normally means error plain at the time the district court made the alleged mistake.” Id. However there is an exception to this general principle: “‘[W]here the law at the time of trial was settled and clearly contrary to the law at the time of appeal[,] it is enough' that an error be “plain” at the time of appellate consideration.’ ” Id. (quoting Johnson v. United States, 520 U.S. 461, 468, 117 S.Ct. 1544, 137 L.Ed.2d 718 (1997)).
B. The Pure Categorical Approach
Even assuming arguendo that the generic crime of “statutory rape” includes *758a 4-year age difference requirement (or any age difference requirement at all), we determine that any error regarding this element would not be “so clear-cut” and “so obvious” that “a competent district judge should be able to avoid it without benefit of objection.” Turman, 122 F.3d at 1170. There is (and has been since before the District Court sentenced GonzaleznAparicio) some confusion, tension, and possibly even conflict in our own case law as to whether the generic crime includes this particular element.
We begin with our ruling in United States v. Gomez-Mendez, 486 F.3d 599 (9th Cir.2007). In this case, the defendant argued that the district court improperly applied the 16-level enhancement based on a prior conviction under section 261.5(d) of the California Penal Code, which stated, inter alia, that “[a]ny person 21 years of age or older who engages in an act of unlawful sexual intercourse with a minor who is under 16 years of age is guilty of either a misdemeanor or a felony.” Id. at 600-03. Affirming the sentencing enhancement, we stated, inter alia, that “[t]he term ‘statutory rape’ is ordinarily, contemporarily, and commonly understood to mean the unlawful sexual intercourse with a minor under the age of consent specified by state statute.” Id. at 603 (footnote omitted). In support of this definition, we specifically quoted the definitions of “statutory rape” in Black’s Law Dictionary, id. at 603 n. 7 (quoting Black’s Law Dictionary 1288 (8th ed.2004)), as well as in an ALR annotation, id. (quoting Susan M. Kole, Annotation, Statute Protecting Minors in a Specified Age Range from Rape or Other Sexual Activity as Applicable to Defendant Minor Within Protected Age Group, 18 A.L.R. 5th 856, § 2[a] (1994)). It must be noted that none of these definitions contain any age difference requirement. Id.
We returned to the definition of “statutory rape” in United States v. Rodriguez-Guzman, 506 F.3d 738 (9th Cir.2007). The defendant challenged the application of the 16-level enhancement based on his prior conviction under section 261(c) of the California Penal Code. Id. at 740. This provision states in relevant part that “[a]ny person who engages in an act of unlawful sexual intercourse with a minor who is more than three years younger than the perpetrator is guilty of either a misdemeanor or a felony,” and California law then defines a minor as a “person under the age of 18 years.” Id. at 741. In Gomez-Mendez, “[w]e went on to define statutory rape as ‘ordinarily, contemporarily, and commonly understood to mean the unlawful sexual intercourse with a minor under the age of consent specified by the state statute.’ ” Id. at 745 (quoting Gomez-Mendez, 486 F.3d at 603). But the Gomez-Mendez panel purportedly “did not answer the dispositive question presented here: what is the ordinary, contemporary, and common meaning of the term ‘minor’ in the context of a statutory rape law relied on for a sentencing enhancement?” Id. (footnote omitted). The Rodriguez-Guzman panel majority, based on an examination of the Model Penal Code, federal criminal law (specifically 18 U.S.C. § 2243(a) (“Sexual abuse of a minor or ward”)), and the approach of the overwhelming majority of the states to the age of consent issue (as addressed in Judge Thomas’s concurring opinion in the subsequently vacated panel ruling in Estrada-Espinoza v. Gonzales, 498 F.3d 933 (9th Cir.2007)), concluded that “the term ‘minor’ in the context of a statutory rape law means a person under sixteen years of age.” 506 F.3d at 745 (footnote omitted). We specifically observe that both the Model Penal Code and 18 U.S.C. § 2243(a), as quoted in Rodriguez-Guzman, require that the victim be younger than 16 and *759that there be at least a 4-year age difference between the perpetrator and the victim. Id. In any case, this Court further explained that the prior ruling “is ... not in conflict with our decision here” because the statutory provision addressed in Gomez-Mendez only criminalizes sexual intercourse with a minor under the age of 16. Id. at 745 n. 6.
In 2008, the en banc Court in Estrada-Espinoza v. Mukasey, 546 F.3d 1147 (9th Cir.2008) (en banc), specifically considered the following question: “[WJhether a conviction under any of four California statutory rape provisions — California Penal Code §§ 261.5(c), 286(b)(1), 288a(b)(l), 289(h) — constitutes the aggravated felony ‘sexual abuse of a minor,’ within the meaning of 8 U.S.C. § 1101(a)(43).”3 Id. at 1150. This Court (in a unanimous opinion written by Judge Thomas) answered this question in the negative because each California statutory provision defines conduct that is broader than the generic federal definition of “sexual abuse of a minor.” Id. at 1150-60.
We began our categorical analysis by observing that we were “[f]ortunately” not confronted with an absence of specific congressional guidance with respect to the applicable elements of the crime “because Congress has enumerated the elements of the offense of ‘sexual abuse of a minor’ at 18. U.S.C. § 2243.” Id. at 1152. “Thus the generic offense of ‘sexual abuse of a minor’ requires four elements: (1) a mens rea level of knowingly; (2) a sexual act; (3) with a minor between the ages of 12 and 16; and (4) an age difference of at least four years between the defendant and the minor.” Id. We then engaged in a rather lengthy (if purportedly unnecessary) discussion of current criminal law in order to confirm “that the congressional definition comports with ‘the ordinary, contemporary, and common meaning of the words’ of the term.” Id. at 1152-53 (quoting United States v. Baron-Medina, 187 F.3d 1144, 1146 (9th Cir.1999)). In the process, we turned, inter alia, to state “statutory rape” provisions, the Model Penal Code’s “statutory rape” definition, and prior case law (and frequently distinguished between sexual activity with younger children and sexual activity with older adolescents). Id. at 1153-55. In explaining why there was no need for the aggravated felony provision to include an express statutory reference to § 2243, we specifically observed that “sexual abuse of a minor” offenses under federal and state law “define what would, in more common parlance, be referred to as statutory rape.” Id. at 1156.
Even outside of the narrow “statutory rape” context, subsequent panel rulings have proceeded to distinguish this en banc opinion. In the process, we have recognized that there are now two generic federal definitions of “sexual abuse of a minor” in this Circuit: (1) the so-called “statutory rape crimes only” definition announced by the en banc Court in Estrada-Espinoza and understood as covering offenses involving both older adolescents and younger children; and (2) the preexisting definition dealing with sexual crimes against younger children, which are considered to be per se abusive. See United States v. Farmer, 627 F.3d 416, 417-22 (9th Cir.2010), pet. for cert. filed, (Mar. 17, 2011) (No. 10-9620); Valencia-Barragan, 608 F.3d at 1106-08; United States v. Castro, 607 F.3d 566, 567-70 (9th Cir. 2010); Rivera-Cuartas v. Holder, 605 F.3d 699, 701-02 (9th Cir.2010); Pelayo-Garcia v. Holder, 589 F.3d 1010, 1012-16 *760(9th Cir.2009); United States v. Medina-Villa, 567 F.3d 507, 511-16 (9th Cir.2009), cert. denied, — U.S. -, 130 S.Ct. 1545, 176 L.Ed.2d 138 (2010).
For example, we determined in Rivera-Cuartas v. Holder, 605 F.3d 699 (9th Cir. 2010), that the Arizona statutory provision at issue here does not satisfy either of these “sexual abuse of a minor” definitions, id. at 702. In this immigration proceeding, we held that “section 13-1405 does not meet the definition for statutory rape crimes set forth in Estrada-Espinoza for two reasons: (1) it lacks the age difference requirement; and (2) is broader than the generic offense with respect to the age of the minor because the statute applies to persons under eighteen years of age.” Id. On the other hand, “a crime that is not a statutory rape crime under Estrada-Espinoza may still meet the federal generic offense of ‘sexual abuse of a minor’ if (1) the conduct prohibited by the criminal statute is sexual, (2) the statute protects a minor, and (3) the statute requires abuse.” Id. (citing Medinar-Villa, 567 F.3d at 513). The abuse element is met if the statute prohibits behavior that causes “ ‘physical or psychological harm in light of the age of the victim in question.’” Id. (quoting same). Applying this other definition, we held that section 13-1405 lacks the critical “abuse” element. Id. However, the Rivera-Cuartas panel only considered the “aggravated felony” statute, which — unlike the Guideline commentary at issue here— does not include any express “statutory rape” language.
To date, we have yet to consider whether — and how Estrada-E spinoza should be applied in defining the generic crime of “statutory rape” under U.S.S.G. § 2L1.2(b)(l)(A)(ii). In fact, this Court actually amended two recent rulings to eliminate such “statutory rape” discussions.
In United States v. Castro, 607 F.3d 566 (9th Cir.2010), the defendant challenged a 16-level sentencing enhancement because of his prior conviction under section 288(c)(1) of the California Penal Code, “which criminalizes lewd or lascivious acts on a child of 14 or 15 years by a person at least ten years older than the child,” id. at 567. Applying the two generic federal definitions of “sexual abuse of a minor,” id. at 567-70, we held that “section 288(c)(1) is broader than the generic offense of sexual abuse of a minor and that it therefore is not categorically a crime of violence.” Id. at 567-68. In this amended opinion, we also explained that “[w]e do not address whether section 288(c)(1) constitutes the generic offense of ‘statutory rape’ and therefore constitutes a ‘crime of violence,’ see U.S.S.G. § 2L1.2 cmt. n. l(B)(iii), because the parties have not raised that issue.” Id. at 570 n. 2.
Likewise, in United States v. Valencia-Barragan, 608 F.3d 1103 (9th Cir.), cert. denied, — U.S. -, 131 S.Ct. 539, 178 L.Ed.2d 396 (2010), the defendant challenged a sentencing enhancement on the basis of a prior conviction under section 9A.44.076(1) of the Washington Revised Code, id. at 1106. This provision provides that “[a] person is guilty of rape of a child in the second degree when the person has sexual intercourse with another who is at least twelve years old but less than fourteen years old and not married to the perpetrator and the perpetrator is at least thirty-six months older than the victim.” Id. We concluded that this conviction fell under the “abuse” definition of “sexual abuse of a minor.” Id. at 1106-08. Although the district court ruled that the prior conviction actually qualified as “statutory rape,” we stated in our amended ruling that, “[b]ecause we conclude that Valencia-Barragan’s conviction under section 9A.44.076(1) criminalizes conduct that satisfies the first federal generic definition *761of ‘sexual abuse of a minor,’ we do not address whether his conviction also satisfies the second generic federal definition or whether it constitutes ‘statutory rape.’ ” Id. at 1107.
Gonzalez-Aparicio, although he never raised the issue below, now asks this Court to determine whether his prior conviction under section 13-1405 “constitutes ‘statutory rape’ ” and specifically whether the generic federal definition of “statutory rape” includes a 4-year age difference element. Id. We acknowledge that this is a difficult issue, further complicated by our own prior case law.. For instance, our prior decisions in Gomez-Mendez and Rodriguez-Guzman did appear to offer a generally applicable definition of “statutory rape,” which in turn lacks any age difference element. However, the respective defendants evidently never raised any age difference issue on appeal (and the statutory provision in Gomez-Mendez actually requires the perpetrator to be at least 21 years of age and the victim to be younger than 16 while the provision at issue in Rodriguez-Guzman contains a 3-year age difference requirement). Nevertheless, we are still unable to conclude that the District Court committed any plain error here.
In particular, Estrada-E spinoza actually defined the phrase “sexual abuse of a minor” as it is used in the immigration “aggravated felony” context. In contrast, the Guideline commentary at issue here expressly lists both “sexual abuse of a minor” as well as “statutory rape” as “crimes of violence.” In general, courts should attempt to avoid an interpretation rendering language superfluous. Cf., e.g., Medina-Villa, 567 F.3d at 515(stating that, “if we were to define ‘sexual abuse of a minor’ in U.S.S.G. § 21:1.2 as limited to § 2243, we would eliminate the need for the separate and independent example of ‘statutory rape’ as a ‘crime of violence.’ ”). The Estrada-E spinoza opinion also never discussed or even cited to our prior “statutory rape” decisions in Gomez-Mendez and Rodriguez-Guzman. We further add that, even in the limited “sexual abuse of a minor” context, the en banc ruling and the subsequent line of case law have been the target of criticism. In a special concurrence in United States v. Farmer, 627 F.3d 416 (9th Cir.2010), pet. for cert. filed, (Mar. 17, 2011) (No. 10-9620), Judge Bybee, joined by Judge Noonan, expressed serious doubts about, among other things, the existence of two definitions for the same offense, id. at 424-26 (Bybee, J., specially concurring).
In the end, we are confronted here with serious problems that arguably merit en banc consideration and that, at the very least, should be resolved only after the defendant properly raises an objection before the district court and the district court thereby has a real opportunity to make an informed and reasoned ruling that could assist any ultimate resolution. At the very least, it cannot be said that any error here was so obvious under the governing case law at the time of sentencing (or even now) that “a competent district judge should be able to avoid it without benefit of objection.” Turman, 122 F.3d at 1170 (citation omitted).
C. The Modified Categorical Approach
While section 13-1405(A) prohibits sexual conduct with “any person who is under eighteen years of age,” it is well established that the generic age of consent for “statutory rape” purposes is 16. See, e.g., Rodriguez-Guzman, 506 F.3d at 743-46. The government turns to the modified categorical approach to defend the District Court’s characterization of Gonzalez-Aparicio’s prior conviction as “statutory rape” and therefore a “crime of violence” for *762sentencing purposes. We determine that the District Court committed no plain error with respect to the application of the modified categorical approach.
Initially, it appears that the modified test is applicable here because the government is not seeking to supply an otherwise absent element. See, e.g., Rivera-Cuartas, 605 F.3d at 702; Estrada-Espinoza, 546 F.3d at 1159. In turn, it was, at the very least, not obvious at the time of sentencing that the state statutory provision was indivisible, especially given its express classification in section 13-1405(B) of sexual conduct with a minor under 15 as a class 2 felony. See, e.g., Estrada-Espinoza, 546 F.3d at 1159-60.
There are certain restrictions on the kinds of documentation that a court may consider under the modified categorical approach. See, e.g., Shepard v. United States, 544 U.S. 13, 26, 125 S.Ct. 1254, 161 L.Ed.2d 205 (2005); United States v. Kelly, 422 F.3d 889, 895-96 (9th Cir.2005). For instance, statements or admissions by the defendant’s counsel at the sentencing hearing are not judicially noticeable. See, e.g., Rodriguez-Guzman, 506 F.3d at 747 n. 9. Likewise, a sentencing court may not turn to the PSR for a narrative description of the underlying facts of the prior conviction. See, e.g., United States v. Pimentel-Flores, 339 F.3d 959, 967-69 (9th Cir.2003) (finding plain error where, inter alia, district court relied solely on factual description recited in PSR and government failed to submit adequate documentation); United States v. Corona-Sanchez, 291 F.3d 1201, 1212 (9th Cir.2002) (en banc) (“Instead, we have held that a presentence report reciting the facts of the crime is insufficient evidence to establish that the defendant pled guilty to the elements of a crime when the statute of conviction is broader than the generic definition.”) (citing United States v. Franklin, 235 F.3d 1165, 1172 (9th Cir.2000); United States v. Potter, 895 F.2d 1231, 1237-38 (9th Cir. 1990)).
Nevertheless, the PSR prepared in this proceeding did more than provide a mere factual narrative. It instead evidently quoted from state court documentation by stating that “[c]ourt records show he pleaded guilty to Count 1 of an indictment charging that in November 1998 he ‘engaged in sexual intercourse or oral sexual contact with [victim] a minor under the age of fifteen years, this refers to the first intercourse^]’ ” (PSR ¶ 21.) It bears repeating that, if the defense had raised some sort of objection, the government could then have presented in the sentencing proceeding the actual documentation from the state court. Under these circumstances, there was no plain error. See, e.g., Kelly, 422 F.3d at 895-96 (“A presentence report (“PSR”) is insufficient to establish the elements of the crime if ‘all it does is recite the facts of the crime as alleged in the charging papers’ without indicating whether the information came ‘from a source that we have previously deemed acceptable, such as a signed plea agreement, a transcript of the plea hearing, or a judgment of conviction.’ ” (quoting Corona-Sanchez, 291 F.3d at 1211)); Corona-Sanchez, 291 F.3d at 1212 (“We need not decide in this case whether information contained in a presentence report from an identified, acceptable source can constitute evidence under TayloPs modified categorical approach”).
III.
For the foregoing reasons, GonzalezAparicio fails to satisfy the applicable plain error standard of review with respect to the District Court’s determination that he was previously convicted of a “crime of violence,” namely “statutory rape,” pursu*763ant to U.S.S.G. § 2L1.2(b)(l)(A)(ii).4 We further conclude that the District Court did not otherwise abuse its discretion or impose a sentence that was either proeedurally erroneous or substantively unreasonable. See, e.g., Carty, 520 F.3d at 993. Contrary to Gonzalez-Aparicio’s assertions on appeal, the District Court provided a thorough explanation for its determination, appropriately responded to the various arguments made by the defense, did not give undue weight to the Guidelines, and reasonably took into account Gonzalez-Aparicio’s prior record as well as several mitigating factors.
We therefore will affirm the sentence entered by the District Court.
AFFIRMED.
THE MOTION BY APPELLANT FOR CORRECTION OF THE RECORD IS DENIED.

. It is uncontested that the District Court had subject matter jurisdiction pursuant to 18 U.S.C. § 3231 and that we have appellate jurisdiction under 18 U.S.C. § 3742 and 28 U.S.C. § 1291.


. Following Gonzalez-Aparicio's 1999 arrest and 2000 sentence, the Arizona Legislature amended this provision to include the language "or the minor’s teacher or clergyman or priest,” to add subsection C, and to substitute § 13-705 for "§ 13-604.01” in subsection B because of statutory renumbering. None of these changes appear to be relevant to the current appeal.


. Estrada-Espinoza was found removable as an aggravated felon under 8 U.S.C. § 1227(a)(2)(A)(iii). Estrada-Espinoza, 546 F.3d at 1151. 8 U.S.C. § 1101(a)(43)(A) “defines 'aggravated felony' as 'murder, rape, or sexual abuse of a minor.' " Id. at 1151.


. We accordingly need not reach the government alternative theory that the statute of conviction constitutes a "forcible sexual offense[ ]” under the Guideline commentary.

